                                                             U.S. Department of Justice

                                                            United States Attorney
                                                            Southern District of New York
                                                             86 Chambers Street
                                                             New York, New York 10007


                                                             December 21, 2022
VIA ECF
The Honorable Lorna G. Schofield
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

        Re:      360 Mortgage Group LLC v. Fortress Investment Group LLC,
                 No. 19 Civ. 8760 (LGS)

Dear Judge Schofield:

       We write respectfully to provide further information and to seek clarification regarding
this Court’s December 19, 2022, Order, which directed Plaintiff to file the “documents”
referenced in Defendant’s December 16 letter. Dkt. No. 265. That letter, in turn, stated that HUD
had recently produced “documents to the parties as to which we understand that HUD had been
communicating with the Court ex parte.” Dkt. No. 264.

       First, we respectfully clarify for the parties and the Court that, although the Government
produced two documents to the parties last week, only one of those documents was previously
referenced in ex parte communications to the Court. Specifically, the first produced document is
a December 2022 HUD Office of Inspector General Report entitled “Investigation of Alleged
Misconduct by a Ginnie Mae Senior Vice President.”1 As the Court is aware, the Government
has previously had ex parte communications with the Court regarding this report. The second
produced document is an Issuer Extinguishment Justification Memo and Action Plan (the
“Recommendation Memorandum”), which was provided as a supplement to HUD’s prior Touhy
productions in this matter.2 The Government has not had ex parte communications with the
Court regarding the Recommendation Memorandum.

      Given this information and the Court’s direction for Plaintiff to submit documents that
were referenced ex parte, we respectfully write to seek clarification of whether the Court is

1
  The version of the OIG Report produced to the parties includes certain redactions applied by HUD-OIG pursuant
to the Freedom of Information Act’s exemptions, subsequent to a consultation with HUD on such redactions. In
addition, pursuant to HUD-OIG practices regarding the naming of third parties, OIG’s final report anonymizes
certain entities that were not the direct subject of HUD-OIG’s investigation.
2
 The produced version of the Recommendation Memorandum includes two small redactions pursuant to the
attorney-client privilege and in order to protect particularly sensitive law enforcement information.
instructing Plaintiff to submit only the OIG Report, or also the Recommendation Memorandum.
The Government has no objection to the produced OIG Report being publicly filed by Plaintiff.
To the extent that the Court is requesting the Recommendation Memorandum, HUD respectfully
requests that it be submitted to the Court under seal, given that it contains sensitive information
that is, among other things, customarily held confidential by Ginnie Mae and HUD. The
Recommendation Memorandum was produced on an “attorneys’ eyes only” basis pursuant to the
terms governed by the operative protective order.

      We thank the Court for its consideration of this matter.

                                                          Respectfully,

                                                         DAMIAN WILLIAMS
                                                         United States Attorney

                                                     By: /s/ Charles S. Jacob
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cc: Counsel of Record (by ECF)
